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                                UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF PENNSYLVANIA                             FILED
 MARGARET P. TOURTELLOTTE,                                                                 JUL 11 2014
 KARLA KRIEGER, ASHLEY C.                                                               MICHAELE. KUNZ, Clerlt
 HISER, and ANA V. REYES,                                                               By          Dep. Clerk
                                                                    No. 09-CV-0774
                Plaintiffs,
                                                         ORDER GRANTING ALTERNATIVE
        v.                                               RELIEF REQUESTED IN
                                                         DEFENDANT LILLY'S FOURTH
ELI LILLY AND COMP ANY and                               MOTION TO COMPEL AND MOTION
TIMOTHY ROWLAND,                                         FOR SANCTIONS

                Defendants.

                The Court, having considered Defendant Eli Lilly and Company's Fourth Motion

To Compel And Motion For Sanctions and being duly advised, finds that the ALTERNATIVE

RELIEF requested in the Motion should be GRANTED. No later than               ~./- ~
                                                                                                                 -.
2014, Plaintiff shall supplement her discovery responses by 1) identifying her primary care

physicians before and after Dr. Solon; (2) identifying the therapists referenced in Dr. Martinez-

Thorne's report and records; (3) identifying any other medical or mental health care providers she

has seen since January 1, 1999, but not previously disclosed; and (4) for any newly identified

health care providers, executing authorizations for the release of their records. Plaintiff shall also

make herself available for a supplemental deposition at a time mutually convenient to all parties
                                            I
but no later than 45 days from the date of this order.

               Plaintiff is further ordered to pay Lilly's reasonable fees and expenses incurred in

bringing its Fourth Motion to Compel. Lilly shall submit documentation reflecting same within

fourteen (14) days of the date of thi~ Order, and Plaintiffs' payment thereof will be governed by

separate order issued after the Court's review of Lilly's submission. Failure to comply with this

Order may result in further sanctions.
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